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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION


LOUIS RAY MARCHETTI,

               Plaintiff,

v.                                            CASE NO. 1:20cv30-RH-GRJ

OFFICER ROSS et al.,

               Defendants.

_____________________________________/


                             ORDER OF DISMISSAL


       This case is before the court on the magistrate judge’s report and

recommendation, ECF No. 9. No objections have been filed. Upon consideration,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted as the court’s

opinion. The clerk must enter judgment stating, “This case is dismissed without

prejudice.” The clerk must close the file.

       SO ORDERED on December 30, 2020.

                                       s/Robert L. Hinkle
                                       United States District Judge



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